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U|\|lTED STATES OF AMER|CA
Plaintiff

VS.
CR. NO. 05-20099»D

M|CHAEL JONES

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on N|ay 19, 2005. At that time, counsel forthe
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to Septernber 6, 2005 with
a report date of Thursdayl August 25l 2005. at 9:00 a.m., in Courtroom 3, ch Floor of
the Federal Bui|ding, |V|emphis, TN.

The period from |V|ay 19, 2005 through September 16, 2005 is excludable under
18 U.S.C. § 3161(h)(8)(B)(iv) because the ends ofjustice served in allowing for additional
time to prepare outweigh the need for a speedy tria|.

|T |S SO ORDERED wing day of Nlay, 2005.

    

B RN|CE B. ONALD
U D STATES D|STR|CT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
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May 24, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

